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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 23-60007-CR-SINGHAL


  UNITED STATES OF AMERICA

  v.

  GAIL RUSS, et al.,

         Defendants.
  ____________________________________/

                    NOTICE OF INTENT TO PROCEED UNDER FRE 1006

         COMES NOW the United States of America, by and through the undersigned Assistant

  United States Attorney, and herein gives this notice of the Government’s intent to proceed under

  Federal Rules of Evidence 1006. The records set forth below are also designated by their

  corresponding Government Trial Exhibit (“GX”) number (DE 360).

         At trial, the Government intends to admit into evidence various summary exhibits (GXs

  55, 70, and 71) relating to the charged wire fraud and conspiracy to commit the same as set forth

  in the Indictment (DE 1). The summary exhibits have already been provided to the defense. They

  will be largely, if not exclusively, based on voluminous business and public records and other

  evidence already provided in discovery. The summary exhibits are based on, among other items,

  the following: Palm Beach School of Nursing files, National Council of State Boards of Nursing

  records, bank records, texts, and emails obtained during this investigation.

         Under FRE 1006, the contents of voluminous writings, recordings, or photographs, which

  cannot conveniently be examined in court, may be presented and admitted into evidence through

  charts, summaries, or calculations. See Fed. R. Evid. 1006; United States v. Daniels, 986 F.2d

  451, 455-56 (11th Cir. 1993). Evidence summaries may relate either to exhibits received into


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  evidence or oral testimony. Along with a limiting instruction, Rule 1006 summaries also may

  contain assumptions and inferences based on admitted testimony and evidence. See United States

  v. Richardson, 233 F.3d 1285, 1293-94 (11th Cir. 2000); United States v. Gold, 743 F.2d 800, 816

  (11th Cir. 1984). Nonetheless, Rule 1006 summaries must be supported by evidence previously

  presented to the jury before they are admitted. See United States v. Naranjo, 634 F.3d 1198, 1213

  (11th Cir. 2011); United States v. Scrima, 819 F.2d 996 (11th Cir. 1987).

         The business and public records and evidentiary items described above are “voluminous

  writings, recordings, or photographs, which cannot conveniently be examined in court.” Fed. R.

  Evid. 1006. Before their admission at trial, the Government’s summary exhibits will be supported

  by previously admitted exhibits and prior testimony presented to the jury. Accordingly, the

  summary exhibits will be admissible under Rule 1006.

                                                      Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY

                                                By:     /s/ Christopher J. Clark
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 27, 2023, I electronically filed the foregoing
  with the Clerk of the Court using CM/ECF.

                                                  /s/ Christopher J. Clark
                                                 CHRISTOPHER J. CLARK
                                                 ASST. UNITED STATES ATTORNEY




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